 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

TYRONE D. ARDS,

Plaintiff,
V- f Case No. 15-CV-1293-]PS
CHRISTOPHER DE LA VEGA,

Defendant_ SPECIAL VERDICT

 

 

We, the jury, duly impaneled and sworn, for our verdict in the
above-entitled action, find as follows:
Question No. 1: (see Part II, Section 1 of the jury Instructions)

Did the defendant violate the plaintiff’s constitutional rights by using
excessive force against him on December 7, 2014?

Answer: M_

(Y es or No)

Question No. 2: ( see Part II, Section 2.1 of the jury Instructions)

If you answered ”Yes” to Question 1, then you must answer this
question, otherwise do not answer it and stop here.

Do you find that the plaintiff is entitled to an award of compensatory
damages against the defendant?

Answer:
(Yes or No)

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Question No. 3: (see Part II, Section 2.1 of the ]ury Instructions)

If you answered ”Yes” to Question 2 above, then you must answer
this question, otherwise do not answer it.

Identify the amount that will fairly and reasonably compensate the
plaintiff for his injuries.
Answer: $
Question No. 4: (see Part II, Section 2.2 of the ]ury Instructions)
If you answered ”Yes” to Question 2 and you awarded compensatory
damages in any amount in Question 3, then you must answer this question,

otherwise do not answer it.

Do you find that the plaintiff is entitled to an award of punitive
damages against the defendant? '

Answer:
(Yes or No)

Question No. 5: (see Part II, Section 2.2 of the ]ury Instructions)

If you answered ”Yes” to Question 4 above, then you must answer
this question, otherwise do not answer it.

Identify the amount to be awarded for punitive damages.

Answer: $
/'zil) WB

Dated at Milwaukee, Wisconsin this _;§ day of December, 2016.

/§/"/`Q A é€/bz‘

Foreperson

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